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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION
DEBTOR:                                     MAIN BANKRUPTCY CASE NO.

PAYSON PETROLEUM 3 WELL, LP                                   Case No. 17-40179

                                                              Chapter 7

                                                              DATE OF HEARING AND NATURE OF
                                                              PROCEEDING:

                                                              October 23, 2018 at 9:30 a.m.

                                                              Payson Trustee’s Motion for Authority to
                                                              Compromise Controversies Pursuant to Fed.
                                                              R. Bankr. P. 9019(b) [docket no. 81]


              EXHIBIT LIST OF JASON SEARCY, CHAPTER 7 TRUSTEE
                        FOR PAYSON PETROLEUM, INC.


 Exhibit               Description of Exhibit                            Offered        Objection        Admitted
   1         Agreed Order Granting Joint Motion to
             Approve Compromise and Settlement
             Pursuant to Bankruptcy Rule 9019 at
             Docket No. 37 in Case No. 17-40179
   2         Payson Petroleum, Inc., Trustee’s Motion
             For Authority to Compromise
             Controversies Pursuant to Fed. R. Bankr.
             P. 9019(b) at Docket No. 81 in Case No.
             17-40179
   3         Original Complaint Against General
             Partners of Payson Petroleum 3 Well, L.P.
             at Docket No. 1 in Adversary No. 18-
             04074
   4         Agreement of Limited Partnership of
             Payson Petroleum 3 Well, LP
   5         Redacted Form of Subscription Agreement
   6         List of Defendants




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Dated: October 18, 2018                                       Respectfully submitted,

                                                              SNOW SPENCE GREEN LLP

                                                              By:       /s/ Blake Hamm
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                                                                      Attorneys for Jason R. Searcy,
                                                                      Chapter 7 Trustee for Payson Petroleum, Inc.

                                            CERTIFICATE OF SERVICE

       I certify that on the 18th day of October 2018, a true and correct copy of the foregoing
Exhibit List was duly served as follows:

               •    Electronically to all persons who have entered an appearance in this case by
                    means of the Court’s CM/ECF System


                                                                         /s/ Blake Hamm
                                                                         Blake Hamm




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